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                                UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF FLORIDA
                                      GAINESVILLE DIVISION

IN RE:                                                 )
                                                       )
Brian Elsmore                                          )      Case No: 18-10341
Mercedes Elsmore                                       )      Chapter 7
                                                       )
               Debtors                                 )


   ORDER GRANTING CHAPTER 7 TRUSTEE’S MOTION TO SHORTEN NOTICE AND
                OBJECTION PERIOD FOR TRUSTEE TO SELL
                   PROPERTY OF THE ESTATE (DOC. 46)

       THIS CAUSE having come before the Court on Chapter 7 Trustee’s Motion to Shorten Notice

and Objection Period for Trustee to Sell Property of the Estate (Doc. 46), This court having considered

the motion and noting that no hearing is necessary, it is

       ORDERED AND ADJUDGED as follows:

       1.      Trustee’s motion is GRANTED.

       2.      Any and all objections to the notice of intent to sell must be filed no later than 7 days

from the date of service of the Notice of Intent to Sell.

                                16th
       DONE AND ORDERD on this _________         October
                                         day of ____________   19
                                                             20____.

                                                       ______________________________
                                                       KAREN K. SPECIE
                                                       United States Bankruptcy Judge


Order prepared by Theresa M. Bender
Trustee is directed to serve a copy of this order on interested parties and file a proof of service within (3) days of
entry of the order.

Copies provided to:
Debtors
Debtors Counsel
UST
Parties in Interest
